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             IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                        DIVISION OF ST. CROIX


COMMISSIONER OF THE DEPARTMENT       :         CIVIL ACTION
OF PLANNING AND NATURAL              :
RESOURCES, ALICIA V. BARNES,         :
et al.                               :
                                     :
          v.                         :
                                     :
CENTURY ALUMINUM COMPANY,            :
et al.                               :         NO. 05-62


                               MEMORANDUM


Bartle, J.                                                  March 26, 2013

          Plaintiffs, Commissioner of the United States Virgin

Islands Department of Planning and Natural Resources, Alicia V.

Barnes (the "Commissioner"), and the Government of the Virgin

Islands (together with the Commissioner, the "Government"), filed

this multi-count environmental lawsuit against entities who at

various times owned portions of an industrial area in Kingshill,

St. Croix on which both an alumina refinery and an oil refinery

have operated.    These defendants were Century Aluminum Company

("Century"), Virgin Islands Alumina Corporation ("VIALCO"), St.

Croix Alumina, LLC ("SCA"), Lockheed Martin Corporation

("Lockheed"), Alcoa World Alumina, LLC, ("Alcoa"), St. Croix

Renaissance Group, LLLP ("SCRG"), HOVENSA, LLC ("HOVENSA") and

Hess Oil Virgin Islands Corporation ("HOVIC").1          We have


1. The Virgin Islands Port Authority ("VIPA") and the Virgin
Islands Waste Management Authority ("VIWMA") are third-party
                                                   (continued...)
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previously approved a settlement between the Government and SCA,

Alcoa, and SCRG and granted summary judgment in favor of Century.

Accordingly, the remaining defendants are VIALCO, Lockheed,

HOVENSA, and HOVIC.

          There are a number of pending motions under Daubert v.

Merrel Dow Pharmaceuticals, 509 U.S. 579 (1993).           We will now

consider the motion of defendants HOVENSA and HOVIC (together,

the "Refinery Defendants") to exclude the expert report and

testimony of Kevin J. Boyle, Ph.D. ("Dr. Boyle") and a similar

motion filed by Lockheed.      There is significant overlap in the

arguments in these motions.

                                   I.

          The court has a "gatekeeping" function in connection

with expert testimony.     See Gen. Elec. Co., et al. v. Joiner, 522

U.S. 136, 142 (1997); see also Daubert, 509 U.S. at 589.            Rule

702 of the Federal Rules of Evidence provides:

          If scientific, technical, or other
          specialized knowledge will assist the trier
          of fact to understand the evidence or to
          determine a fact in issue, a witness
          qualified as an expert by knowledge, skill,
          experience, training, or education, may
          testify thereto in the form of an opinion or
          otherwise, if (1) the testimony is based upon
          sufficient facts or data, (2) the testimony
          is the product of reliable principles and
          methods, and (3) the witness has applied the
          principles and methods reliably to the facts
          of the case.



1.(...continued)
defendants sued by defendants VIALCO and Lockheed and former
defendant Century for contribution.

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As our Court of Appeals has repeatedly noted, Rule 702 embodies

three requirements:     qualification, reliability, and fit.         Pineda

v. Ford Motor Co., 520 F.3d 237, 244 (3d Cir. 2008).

          An expert is qualified if he "possess[es] specialized

expertise."   Schneider ex rel. Estate of Schneider v. Fried, 320

F.3d 396, 404 (3d Cir. 2003).       This does not necessarily require

formal credentials, as "a broad range of knowledge, skills, and

training qualify an expert," and may include informal

qualifications such as real-world experience.          In re Paoli R.R.

Yard PCB Litig., 35 F.3d 717, 741 (3d Cir. 1994).           The

qualification standard is a liberal one, and an expert may be

sufficiently qualified under Rule 702 even if "the trial court

does not deem the proposed expert to be the best qualified or

because the proposed expert does not have the specialization that

the court considers most appropriate."         Holbrook v. Lykes Bros.

S.S. Co., 80 F.3d 777, 782 (3d Cir. 1996).

          To determine reliability, we focus not on the expert's

conclusion but on whether that conclusion is "based on the

methods and procedures of science rather than on subjective

belief or unsupported speculation."        Schneider, 320 F.3d at 404

(internal quotation marks omitted).        Our analysis may include

such factors as:

          (1) whether a method consists of a testable
          hypothesis; (2) whether the method has been
          subject to peer review; (3) the known or
          potential rate of error; (4) the existence
          and maintenance of standards controlling the
          technique's operation; (5) whether the method
          is generally accepted; (6) the relationship

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          of the technique to methods which have been
          established to be reliable; (7) the
          qualifications of the expert witness
          testifying based on the methodology; and (8)
          the non-judicial uses to which the method has
          been put.

Pineda, 520 F.3d at 247-48.

          "[T]he test of reliability is flexible" and this court

possesses a broad latitude in determining reliability.            Kumho

Tire Co. v. Carmichael, 526 U.S. 137, 141-42 (1999).           To be

reliable under Daubert, a party need not prove that his or her

expert's opinion is "correct."       Paoli, 35 F.3d at 744.       Instead:

          As long as an expert's scientific
          testimony rests upon good grounds, based
          on what is known, it should be tested
          by the adversary process–competing
          expert testimony and active
          cross–examination–rather than
          excluded from jurors' scrutiny for
          fear that they will not grasp its
          complexities or satisfactorily
          weigh its inadequacies.

United States v. Mitchell, 365 F.3d 215, 244 (3d Cir. 2004)

(quoting Ruiz–Troche v. Pepsi Cola Bottling Co., 161 F.3d 77, 85

(1st Cir. 1998)).

          As for "fit," expert testimony must also "assist the

trier of fact to understand the evidence or to determine a fact

in issue."   Fed. R. Evid. 702.      Thus, to "fit," such evidence

must bear some relation to the "particular disputed factual

issues in the case."     United States v. Downing, 753 F.2d 1224,

1237 (3d Cir. 1985).     Accordingly, this factor has been described

as one of relevance.     Daubert v. Merrell Dow Pharms., Inc., 509

U.S. 579, 591 (1993); Paoli, 35 F.3d at 745 & n.13.

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                                    II.

           Dr. Boyle was retained by the plaintiffs to compute the

damages associated with contamination of groundwater on St.

Croix.   He performed two alternative damages calculations, one

based on a "Resource Equivalency Analysis" and the other on a

"Total Economic Value" methodology.        Dr. Boyle's Resource

Equivalency Analysis damage calculation is $40.7 million, and his

Total Economic Value damage calculation is $129.6 million.             These

figures should not be added together because the calculations

result from alternative methodologies.         He concluded that the

Refinery Defendants are responsible for 60%-65% of these damages.

           The groundwater at issue is from the Kingshill aquifer

located in the central and western portions of St. Croix.

Although not currently used as a source of freshwater, it has

been a source of freshwater for the residents of St. Croix in the

past and provides a source of freshwater for the future.            Dr.

Boyle bases any analysis involving the extent of contamination of

this groundwater on the opinions of Dr. Charles Andrews ("Dr.

Andrews").

           Dr. Boyle collaborated with staff at Stratus Consulting

Inc. on the Resource Equivalency Analysis damage calculation.

The damages are the costs of buying land to protect areas of the

Kingshill aquifer from contamination and diminished recharge.

This involves computing the cost of protecting groundwater in the

Kingshill aquifer to compensate the residents of St. Croix for

groundwater contamination.

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          Dr. Boyle also utilized the alternative "Total Economic

Value" methodology for computing damages.         This involves

measuring economic values of groundwater use "in terms of each

individual's own assessment of well-being."          There are two

components to this calculation, the "wasteful use" damage

calculation and the "benefit transfer of existence values"

calculation.

          The wasteful use calculation is the value of the loss

to the current generation from the wasteful use of water by

remediation projects.     Waste has allegedly occurred because the

Refinery Defendants pump groundwater treated as part of

remediation into the Carribean Sea instead of "using it for

productive purposes."

          The benefit transfer of existence values calculation

involves determining how people value natural resources even when

they do not currently use or plan to use the resources in the

near future.   This calculation requires computing how much money

residents of St. Croix would theoretically pay to ensure that

uncontaminated groundwater is available for future generations.

The calculation determines the value for similar resources at a

different location to calculate damages from the failure to

protect the Kingshill aquifer from groundwater contamination.

                                  III.

          We note that both the Refinery Defendants and Lockheed

rely on a New Jersey case in which a Resource Equivalency

Analysis for economic damages for groundwater contamination was

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found to be not credible.      New Jersey Dep't of Envtl. Prot. v.

Essex Chem. Corp., No. A-0367-10T4, 2012 N.J. Super. Unpub. LEXIS

593 (N.J. Super. A.D. March 20, 2012).         However, this case

involved the findings of fact of a court following a bench trial.

This is a significantly different procedural posture from the

pretrial Daubert motions presently before the court.           Of course,

a fact-finder may weigh evidence in any way and find one expert

to be less credible than another.         It was not an analysis of the

reliability, fit, or qualifications of the expert and his

opinions, and we accordingly do not find it to be persuasive

authority under the circumstances.

           We will first address the defendants' arguments

regarding the Resource Equivalency Analysis.          The Refinery

Defendants and Lockheed contend that the Resource Equivalency

Analysis is inapplicable to analyses of economic damages for

groundwater contamination because it is generally used when there

have been injuries to individual wildlife species or habitats.

The fact that the analysis is also used for other types of

resources damage does not make it inappropriate in the

groundwater setting.     In his deposition, Dr. Boyle explained that

his peers at the University of Illinois performed a survey of

state and federal cases involving natural resource damage

assessments and found that the Resource Equivalency Analysis was

the most commonly used approach for estimating groundwater

damages.   This type of peer review is sufficient under Daubert.



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          The Refinery Defendants next contend that Dr. Boyle's

application of the Resource Equivalency Analysis is premised on

false assumptions and is thus unreliable.         The first alleged

false assumption is that Dr. Boyle assumes the water beneath the

Refinery has been or will be available for the residents of St.

Croix to use.    They contend that this is false because it is

private property.    We disagree.     The fact that the water is under

private property is not relevant for purposes of determining

these damages.    Dr. Boyle testified in his deposition that there

have been "numerous peer reviewed studies" that have looked at

the value of groundwater despite it being under private property.

Indeed, groundwater is not static but rather flows beyond

property borders.

          The second alleged false assumption for the Resource

Equivalency Analysis is that Dr. Boyle assumes that contamination

of groundwater beneath the refinery will prevent the public from

extracting groundwater from areas located outside the refinery.

Here the Refinery Defendants claim that Dr. Boyle is improperly

relying on the declaration of Syed Syedali ("Syedali"), who

claimed that the Virgin Islands Department of Planning and

Natural Resources is not issuing groundwater appropriation

permits in the vicinity of the refinery because of the amount of

water being extracted due to the hydrocarbon recovery program.

In a separate motion, the Refinery Defendants have moved to

strike that declaration.      By a Memorandum and Order issued today,



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we are denying the motion to strike.        Dr. Boyle may accordingly

rely on the declaration of Syedali.

           The third alleged false assumption on which the

Resource Equivalency Analysis is premised is that water beneath

the refinery would have been available as a potable resource in

its baseline condition.     According to defendants, the salinity of

the water prevents its use for drinking.         The plaintiffs disagree

and counter that the water is indeed potable.          We cannot

determine at this point the level of salinity of the water.                This

is an issue of fact for trial.

           The Refinery Defendants also argue that counting an

acre of preserved land as compensation for an acre of lost

groundwater overestimates for the services that are allegedly

lost.   However, Dr. Boyle is recommending purchasing land over

the Kingshill Aquifer, in order to protect the groundwater, so

this argument fails.     Further, defendants contend that Dr. Boyle

uses a distorted set of property values by failing to find

properties comparable to the refinery and by not using

transactions which occurred after the economic recession began.

The plaintiffs respond that finding sites "comparable" to the

refinery does not accomplish the goal of the Resource Equivalency

Analysis, which is to protect an equivalent amount of resources,

here groundwater.    We agree.    The plaintiffs also explain that

there were no transactions for large parcels for post-2009, which

is why there is no data in 2010 or 2011, following the recent

recession.   However, there were also no such transactions in 1998

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or 1999.   The defendants may cross-examine Dr. Boyle on this

point, but it does not cause his opinions to be unreliable or

fail to fit the case.

           We will now turn to the arguments regarding the Total

Economic Value approach.     The Refinery Defendants and Lockheed

maintain that Dr. Boyle's Total Economic Value approach is

unreliable.   They contend that his wasted use analysis that is

part of the Total Economic Value approach fails because it is

based on false assumptions.

           The first of these alleged false assumptions is that

the water is wasted because it is being pumped into the Carribean

Sea as part of the current remediation efforts.          The Refinery

Defendants and Lockheed contend that since the groundwater under

the refinery flows into the Caribbean Sea under natural

conditions, it is not wasted.      However, it is not clear how much

of the groundwater flows into the sea eventually and and whether

or not the pumped out groundwater could be put to a more

productive use.   The defendants do not convince us that Dr.

Boyle's testimony is unreliable or does not fit this action.               He

may testify about the wasteful use at trial.

           The Refinery Defendants and Lockheed also contend that

Dr. Boyle should not have used "market price" to compute damages

because the costs that residents are willing to pay the Water and

Power Authority for "standpipe water" does not reflect the value

that residents put on the "wasted" groundwater.          We are not



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persuaded.   Rather, the price that residents pay for their water

provides the value of water to them.

          Lockheed also emphasizes that the remediation project

was proposed by the plaintiffs, designed by plaintiffs' own

expert, and overseen by the United States Environmental

Protection Agency ("EPA").      They assert that Dr. Boyle is not

qualified to opine that the water is wasted as he is not an

environmentalist but an economist.        However, plaintiffs counter

that Dr. Boyle is not commenting on whether this remediation is

appropriate environmentally, but rather whether it imposes

economic costs.   He is using "wasteful" as an economic term for

water that is not being put to productive use, here because of

the pumping due to the contamination.        Dr. Boyle may testify at

trial to these opinions.

          Lockheed argues that Dr. Boyle's opinions are

unreliable because they were based on the extent of contamination

opined by Dr. Andrews.     We have addressed Dr. Andrews' opinions

in the separate motions regarding them, and as described in a

Memorandum and Order issued today, we are not excluding them.

Furthermore, it is clear that Dr. Boyle did not "unblinkingly

rely" on the opinions of Dr. Andrews.        See In Re TMI Litig., 193

F.3d 613, 715 (3d Cir. 1999).

          The Refinery Defendants further contend that Dr.

Boyle's existence value and benefit transfer analysis fails

because it is based on false assumptions.         They specifically

argue that Dr. Boyle's existence values are unreliable because he

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did not conduct a poll of the attitudes of people on St. Croix

but instead used an existing meta-analysis equation.           They

maintain that economists have cautioned that using a meta-

analysis in this way can yield unreliable results.          However, Dr.

Boyle testified in his deposition that these opinions were old,

and new opinions of economists have found that meta-analyses are

reliable for this purpose.      He referred to various peer studies.

His testimony in this regard is reliable under Daubert.

           Lockheed further argues that the prior studies used in

the meta-analysis by Dr. Boyle do not measure the same or similar

resource at issue here because the Kingshill aquifer is not used

as a source of public drinking water on St. Croix and contains a

high level of salinity.     However, Dr. Boyle is also looking

toward the future and potential emergencies.         Indeed, Dr. Boyle

explains that the Kingshill aquifer was in fact used as an

emergency water source following Hurricane Hugo in 1989 and was

the only source of fresh water on the island after the hurricane

outside of a limited number of residents who had uncontaminated

water in their cisterns.

           Lockheed finally argues that the benefit transfer

approach has been determined, in a study by Dr. Boyle himself, to

have a high error rate.     However, Dr. Boyle explained in his

deposition that he accordingly used very conservative figures so

if there is an error it is that he is underestimating the

economic damages.    Again, his testimony is reliable under

Daubert.

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          For these reasons, we will deny the motions of the

Refinery Defendants and Lockheed to exclude the testimony of Dr.

Boyle.




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